             IN THE COURT OF CRIMINAL APPEALS
                         OF TEXAS
                                         NO. WR-77,638-23


                  EX PARTE NKRUMAH LAMUNBA VALIER, Applicant


                 ON APPLICATION FOR A WRIT OF HABEAS CORPUS
                 CAUSE NO. 1150625-J IN THE 183RD DISTRICT COURT
                              FROM HARRIS COUNTY


        Per curiam.


                                              ORDER

        Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the

clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte

Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated sexual

assault and sentenced to forty years’ imprisonment.

        In his present application, Applicant raises four grounds. This application, however, presents

a more serious question. This Court’s records reflect that Applicant has filed nine prior applications

pertaining to this conviction. It is obvious from the record that Applicant continues to raise issues

that have been presented and rejected in previous applications or that should have been presented
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in previous applications. The writ of habeas corpus is not to be lightly or easily abused. Sanders

v. U.S., 373 U.S. 1 (1963); Ex parte Carr, 511 S.W.2d 523 (Tex. Crim. App. 1974). Because of his

repetitive claims, we hold that Applicant’s claims are barred from review under Article 11.07, § 4,

and are waived and abandoned by his abuse of the writ. This application is dismissed.

       Therefore, we instruct the Honorable Abel Acosta, Clerk of the Court of Criminal Appeals,

not to accept or file the instant application for a writ of habeas corpus, or any future application

pertaining to this conviction unless Applicant is able to show in such an application that any claims

presented have not been raised previously and that they could not have been presented in a previous

application for a writ of habeas corpus. Ex parte Bilton, 602 S.W.2d 534 (Tex. Crim. App. 1980).

       Copies of this order shall be sent to the Texas Department of Criminal Justice-Correctional

Institutions Division and Pardons and Paroles Division.



Filed: November 16, 2016
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